Case 19-59740-wlh   Doc 80    Filed 12/13/21 Entered 12/13/21 17:29:28   Desc Main
                             Document      Page 1 of 37
Case 19-59740-wlh   Doc 80    Filed 12/13/21 Entered 12/13/21 17:29:28   Desc Main
                             Document      Page 2 of 37
Case 19-59740-wlh   Doc 80    Filed 12/13/21 Entered 12/13/21 17:29:28   Desc Main
                             Document      Page 3 of 37
Case 19-59740-wlh   Doc 80    Filed 12/13/21 Entered 12/13/21 17:29:28   Desc Main
                             Document      Page 4 of 37
Case 19-59740-wlh   Doc 80    Filed 12/13/21 Entered 12/13/21 17:29:28   Desc Main
                             Document      Page 5 of 37
Case 19-59740-wlh   Doc 80    Filed 12/13/21 Entered 12/13/21 17:29:28   Desc Main
                             Document      Page 6 of 37
Case 19-59740-wlh   Doc 80    Filed 12/13/21 Entered 12/13/21 17:29:28   Desc Main
                             Document      Page 7 of 37
Case 19-59740-wlh   Doc 80    Filed 12/13/21 Entered 12/13/21 17:29:28   Desc Main
                             Document      Page 8 of 37
Case 19-59740-wlh   Doc 80    Filed 12/13/21 Entered 12/13/21 17:29:28   Desc Main
                             Document      Page 9 of 37
Case 19-59740-wlh   Doc 80    Filed 12/13/21 Entered 12/13/21 17:29:28   Desc Main
                             Document      Page 10 of 37
Case 19-59740-wlh   Doc 80    Filed 12/13/21 Entered 12/13/21 17:29:28   Desc Main
                             Document      Page 11 of 37
Case 19-59740-wlh   Doc 80    Filed 12/13/21 Entered 12/13/21 17:29:28   Desc Main
                             Document      Page 12 of 37
Case 19-59740-wlh   Doc 80    Filed 12/13/21 Entered 12/13/21 17:29:28   Desc Main
                             Document      Page 13 of 37
Case 19-59740-wlh   Doc 80    Filed 12/13/21 Entered 12/13/21 17:29:28   Desc Main
                             Document      Page 14 of 37
Case 19-59740-wlh   Doc 80    Filed 12/13/21 Entered 12/13/21 17:29:28   Desc Main
                             Document      Page 15 of 37
Case 19-59740-wlh   Doc 80    Filed 12/13/21 Entered 12/13/21 17:29:28   Desc Main
                             Document      Page 16 of 37
Case 19-59740-wlh   Doc 80    Filed 12/13/21 Entered 12/13/21 17:29:28   Desc Main
                             Document      Page 17 of 37
Case 19-59740-wlh   Doc 80    Filed 12/13/21 Entered 12/13/21 17:29:28   Desc Main
                             Document      Page 18 of 37
Case 19-59740-wlh   Doc 80    Filed 12/13/21 Entered 12/13/21 17:29:28   Desc Main
                             Document      Page 19 of 37
Case 19-59740-wlh   Doc 80    Filed 12/13/21 Entered 12/13/21 17:29:28   Desc Main
                             Document      Page 20 of 37
Case 19-59740-wlh   Doc 80    Filed 12/13/21 Entered 12/13/21 17:29:28   Desc Main
                             Document      Page 21 of 37
Case 19-59740-wlh   Doc 80    Filed 12/13/21 Entered 12/13/21 17:29:28   Desc Main
                             Document      Page 22 of 37
Case 19-59740-wlh   Doc 80    Filed 12/13/21 Entered 12/13/21 17:29:28   Desc Main
                             Document      Page 23 of 37
Case 19-59740-wlh   Doc 80    Filed 12/13/21 Entered 12/13/21 17:29:28   Desc Main
                             Document      Page 24 of 37
Case 19-59740-wlh   Doc 80    Filed 12/13/21 Entered 12/13/21 17:29:28   Desc Main
                             Document      Page 25 of 37
Case 19-59740-wlh   Doc 80    Filed 12/13/21 Entered 12/13/21 17:29:28   Desc Main
                             Document      Page 26 of 37
Case 19-59740-wlh   Doc 80    Filed 12/13/21 Entered 12/13/21 17:29:28   Desc Main
                             Document      Page 27 of 37
Case 19-59740-wlh   Doc 80    Filed 12/13/21 Entered 12/13/21 17:29:28   Desc Main
                             Document      Page 28 of 37
Case 19-59740-wlh   Doc 80    Filed 12/13/21 Entered 12/13/21 17:29:28   Desc Main
                             Document      Page 29 of 37
Case 19-59740-wlh   Doc 80    Filed 12/13/21 Entered 12/13/21 17:29:28   Desc Main
                             Document      Page 30 of 37
Case 19-59740-wlh   Doc 80    Filed 12/13/21 Entered 12/13/21 17:29:28   Desc Main
                             Document      Page 31 of 37
Case 19-59740-wlh   Doc 80    Filed 12/13/21 Entered 12/13/21 17:29:28   Desc Main
                             Document      Page 32 of 37
Case 19-59740-wlh   Doc 80    Filed 12/13/21 Entered 12/13/21 17:29:28   Desc Main
                             Document      Page 33 of 37
Case 19-59740-wlh   Doc 80    Filed 12/13/21 Entered 12/13/21 17:29:28   Desc Main
                             Document      Page 34 of 37
Case 19-59740-wlh   Doc 80    Filed 12/13/21 Entered 12/13/21 17:29:28   Desc Main
                             Document      Page 35 of 37
Case 19-59740-wlh   Doc 80    Filed 12/13/21 Entered 12/13/21 17:29:28   Desc Main
                             Document      Page 36 of 37
Case 19-59740-wlh   Doc 80    Filed 12/13/21 Entered 12/13/21 17:29:28   Desc Main
                             Document      Page 37 of 37
